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                                  STATEMENT OF FACTS

        On Thursday, January 14, 2021, at approximately 5:45 p.m., members of the Metropolitan
Police Department (MPD) Gun Recovery Unit (GRU) were on patrol when they observed a group
of individuals standing closely together without masks in front of 905 Decatur Street Northwest in
Washington, D.C. Officers got out to make contact with the group and observed an individual,
later identified as Artie Byrd (Defendant Byrd), wearing a tight fitting jacket with an L-shaped
object that was bulging from the front pocket. The object in Defendant Byrd’s pocket was weighing
down the right pocket of the jacket. Defendant Byrd lifted up his jacket to reveal his waistband,
and when he lowered the bottom of the jacket, the L-shaped item became much more defined.
Officer DelBorrell pointed to the object, alerting the other members to the presence of a firearm.
Officer DelBorrell immediately patted down the pocket area and felt the outline of a firearm.
Defendant Byrd was detained and the firearm was recovered from his right jacket pocket.
Defendant Byrd was placed under arrest.

       A search incident to arrest of Defendant Byrd’s person revealed 4.6 grams of a white rock
like substance that later was field tested and returned a positive result for cocaine base.
Additionally, a black digital scale, often used in the sale of narcotics, and $239 of U.S. currency
were also recovered.

        The recovered firearm was determined to be a black in color Ruger P95, 9 millimeter
handgun with a serial number of 31626522. When it was recovered, it had one (1) round in the
chamber and eight (8) rounds in an unknown capacity magazine. There are no firearm or
ammunition manufacturers in the District of Columbia. Therefore, the firearm and ammunition in
this case would have traveled in interstate commerce.

         A criminal history check of Defendant Byrd through the National Crime Information
Center (NCIC) confirmed that the defendant has a prior felony conviction in the United States
District Court for Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a
Crime Punishable by Imprisonment for a term exceeding One Year, case number 2012-CR-280-
01. The defendant was sentenced to forty two (42) months incarceration in that case. The
defendant has an additional conviction in the Superior Court for the District of Columbia for
Robbery, case number 2010 CF2 7647. The defendant was sentenced to forty (40) months of
incarceration, sixteen (16) months of which were suspended, for this conviction. This conviction
in the Superior Court for the District of Columbia was under the Youth Rehabilitation Act;
however, it was not successfully completed and Defendant Byrd did not receive the benefits of the
Youth Rehabilitation Act for this conviction. Therefore, the defendant was aware at the time of his
arrest in this case that he had prior convictions for crimes punishable by more than one year.



                                             _________________________________
                                             OFFICER ANTHONY DELBORRELL
                                             METROPOLITAN POLICE DEPARTMENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of January 2021.
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                                 ZIA M. FARUQUI
                                 U.S. MAGISTRATE JUDGE
